                 IN THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF TENNESSEE, KNOXVILLE DIVISION


  PHYLLIS G. BARNES, and                               )
  WALTER R. BARNES                                     )
                                                       )
         Plaintiffs,                                   )
                                                       )
  v.                                                   )      Civil Action No. 3:15-cv-556
                                                       )
  GREG MALINAK, DEBBIE MALINAK,                        )      JURY DEMAND
  and SIDNEY JAMES MOTOR LODGE,                        )
  INC. d/b/a OLDE GATLINBURG RENTALS                   )
                                                       )
         Defendants.                                   )



     DEFENDANTS GREG MALINAK AND DEBBIE MALINAK’S MOTION TO
  EXCLUDE THE TESTIMONY OF RUSSELL KENDZIOR AS AN EXPERT AT TRIAL


         Come now the Defendants, Greg Malinak and Debbie Malinak (collectively sometimes

  referred to hereafter as “Defendants” or “the Malinaks”), by and through counsel, and hereby

  move this Honorable Court to exclude the testimony of Russell Kendzior because admission of

  his testimony would be contrary to law and the Federal Rules of Evidence relevant to the

  admission of expert testimony. Fed. R. Evid. 702; Daubert v. Merill-Dow Pharmaceuticals, Inc.,

  509 U.S. 579 (1993). In support of this motion, Defendants state as follows:

                                              FACTS

         Plaintiffs brought this action to recover for injuries Plaintiff Phyllis G. Barnes allegedly

  sustained on April 10, 2015, when she fell in a bathroom at a rental condominium owned by the

  Malinaks in Gatlinburg, Tennessee. See Complaint, [Doc. 1]. Defendant Sidney James Motor

  Lodge, Inc. d/b/a Olde Gatlinburg Rentals (“Gatlinburg Rentals”) manages and maintains the

  condominium for the Malinaks. See Complaint, [Doc. 1]. On the morning of the fall, Plaintiff



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  Phyllis Barnes went into the bathroom of the condominium in question, laid the cotton bathmat

  provided by Gatlinburg Rentals on the bathroom floor in front of the bathtub, and took a shower.

  See Complaint, [Doc. 1]. When she stepped out of the bathtub onto the bathmat, she fell. See

  Complaint, [Doc. 1].

         On March 31, 2017, Plaintiffs produced a Rule 26(a)(2) Expert Disclosure and Report of

  Russell Kendzior (“Original Report”).      See Original Report, attached hereto as Exhibit A.

  According to Mr. Kendzior’s curriculum vitae, which is attached as Exhibit A to the Original

  Report, he has a Bachelor of Science in mathematics from Bradley University with no other

  advanced education or any training as an engineer, physicist, or architect. In the Original Report,

  Mr. Kendzior purports to opine that the Malinaks “breached the standard of care they owed to

  the Plaintiffs to provide them a bathmat that would not slip when used for exiting the bathtub.”

  See Original Report, p. 2. Mr. Kendzior opined that the Malinaks failed to provide a suitable

  bathmat for the type of flooring that was in the condominium yet he had never seen or tested the

  flooring and, at the time of the Original Report, had not seen or tested the bathmat either. See

  id.; Deposition of Russell J. Kendzior (“Kendzior Depo.”), 48, 58, 156-57, attached hereto in

  relevant part as Exhibit B. Mr. Kendzior attempted to define the difference between a bath mat

  and a bath towel, referring to the mat in question as a towel because it did not have an absorbent

  top surface with slip resistant backing, but he gives no reference for any such definition. See

  Original Report, p. 2; Kendzior Depo., 21, 59. Mr. Kendzior then broadly opined that the

  bathmat’s “design, construction, and lack of a slip resistant backing were insufficient to prevent

  the towel from slipping on the smooth surfaced floor,” again without having ever seen or testing

  the mat or the floor. See Original Report, p. 2; Kendzior Depo., 48, 58, 156-57. Mr. Kendzior

  further opined that the Malinaks breached the standard of care they owed the Plaintiffs by failing




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  to warn them of the risk of falling due to the slipperiness of the surface of the floor when

  combined with the use of the towel. Original Report, p. 2.

         The Original Report provided that Mr. Kendzior considered “1) Deposition transcripts of

  the Phyllis Barnes and Walter Barnes; 2) photographs of the bath mat towel; 3) Complaint; 4)

  discovery responses of Defendants; 5) Review and application of nationally recognized safety

  codes and standards including: ‘The American National Standards Institute (ANSI) A1264.2-

  2012 ‘Provision of Slip Resistance on Walkway/Working Surfaces,’ The National Floor Safety

  Institute (NFSI) 101-C ‘Test Method for Measuring Dry TCOF of Floor Mat Backing Materials’

  and The American Society of Testing and Materials (ASTM) F-1637-10 ‘Standard Practice for

  Safe Walking Surfaces.’” See Original Report, p. 3.

         Mr. Kendzior received the exemplar bath mat on May 2, 2017, but he never visited the

  condominium in question or saw the floor involved in the fall. See Kendzior Depo., 48, 58. On

  May 15, 2017, Plaintiff provided a supplemental report from Mr. Kendzior (“Supplemental

  Report”). See Supplemental Report, attached hereto as Exhibit C. In issuing his Supplemental

  Report, Mr. Kendzior reviewed Plaintiffs’ Amended Complaint, Plaintiffs’ deposition testimony,

  Defendants’ “Injury to Guest/Accident Form,” photographs of the bathroom involved, and the

  exemplar bath mat. See Supplemental Report, p. 1. Mr. Kendzior observed that the flooring

  material in the relevant bathroom was “that of a smooth and lightly colored 12” X 12” tile.” Id.

  When asked how Mr. Kendzior obtained the measurements from his report that stated the

  flooring was a “smooth and lightly colored 12” X 12” tile,” Mr. Kendzior stated that it was “kind

  of an estimate” from looking at the photographs. Kendzior Depo., 92-93.

         In the Supplemental Report, Mr. Kendzior opined that the bath mat in question was more

  appropriately a “bath towel,” again giving no basis for such definition. See Supplemental




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  Report, p. 2. Mr. Kendzior stated that he used the National Floor Safety Institute (“NFSI”) 101-

  C standard, a test method for measuring dry transitional coefficient of friction (“TCOF”) of floor

  mat backing materials, to determine the slip resistance of the bath mat. Id. Ironically, Mr.

  Kendzior founded the NFSI in 1997 and still serves as its Board of Directors Chairman. See

  Kendzior Depo., 19. Mr. Kendzior explained that mat backings having TCOF equal to or greater

  than a value of 0.5 are considered high-traction per the NFSI 101-C standard, but mat backings

  with a lower value are considered low traction. See Supplemental Report at p. 3.

         Mr. Kendzior stated that he tested the exemplar bathmat pursuant to the NFSI 101-C test

  method and determined that the dry mat had a TCOF value of 0.14, which is below the

  “required” minimum value of 0.5 needed for a high-traction mat. See Supplemental Report, p. 3.

  Mr. Kendzior opined that the low level of slip resistance or traction would increase the likelihood

  of sliding on a “smooth surface floor” like that in the condominium in question, which he had

  never seen. Id. Mr. Kendzior concluded that the bathmat was “inappropriate for use on smooth

  surface floors like that as located in the Defendants’ guest room.” Id. He opined that the

  bathmat “did not have the required level of slip resistance and therefore would be inappropriate

  for use as a bathmat” but admitted in his deposition that the standards he used were voluntary

  and not required by any code, ordinance, or law. See Supplemental Report, p. 3 (emphasis

  added); Kendzior Depo., 52-53, 72, 80, 95, 101, 126.

         Mr. Kendzior also cited the American Society of Testing and Materials (“ASTM”), F-

  1637-09 standard in his Supplemental Report to conclude that the bathmat was not in compliance

  with this “nationally recognized industry standard” because it was not “affixed to the floor nor

  did it have a slip resistant backing.” Id. However, in his deposition, Mr. Kendzior testified that

  fixation of a bath mat was not necessary to comply with the standard of care. See Kendzior




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  Depo., 143. This “nationally recognized industry standard” is also voluntary according to Mr.

  Kendzior’s testimony and under its own terms. Kendzior Depo., 80. Mr. Kendzior stated that

  the bathmat failed to provide a “safe, slip resistant, secure means of exiting the shower and/or

  traversing the slippery tiled floor” that he had never seen. See Supplemental Report, p.In

  conclusion, Mr. Kendzior opined, without ever seeing the flooring surface at issue, that the

  failure to provide “a suitable, slip resistant bathroom flooring surface presented an unreasonably

  dangerous condition” to anyone exiting the bathtub. See Supplemental Report, p. 4.

                                       LAW AND ANALYSIS

         With few exceptions, all relevant evidence is admissible, but evidence which is irrelevant

  is not admissible. Fed. R. Evid. 402. Relevant evidence may be excluded if its probative value

  is substantially outweighed by the danger of unfair prejudice, confusing the issues, or misleading

  the jury. Fed. R. Evid. 403. “In general, the court must decide any preliminary question about

  whether a witness is qualified[.]” Fed .R. Evid. 104(a). Federal Evidence Rule 702 provides:

         A witness who is qualified as an expert by knowledge, skill, experience, training,
         or education may testify in the form of an opinion or otherwise if:
         (a) the expert’s scientific, technical, or other specialized knowledge will help the
         trier of fact to understand the evidence or to determine a fact in issue;
         (b) the testimony is based on sufficient facts or data;
         (c) the testimony is the product of reliable principles and methods; and
         (d) the expert has reliably applied the principles and methods to the facts of the
         case.

  Fed. R. Evid. 702.

         A district court’s task in assessing evidence proffered under Rule 702 is to determine

  whether the evidence “both rests on a reliable foundation and is relevant to the task at hand.” Id.

  at 597. The district court must consider “whether the reasoning or methodology underlying the

  testimony is scientifically valid.” Id. at 592-93. There is no “definitive checklist or test,” but the




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  United States Supreme Court in Daubert set forth a number of factors for the inquiry. Daubert,

  509 U.S. at 593-94. These factors include:

         (1) whether a “theory or technique ... can be (and has been) tested”; (2) whether
         the theory “has been subjected to peer review and publication”; (3) whether, with
         respect to a particular technique, there is a high “known or potential rate of error”
         and whether there are “standards controlling the technique’s operation”; and (4)
         whether the theory or technique enjoys “general acceptance” within a “relevant
         scientific community.”

  Johnson v. Manitowoc Boom Trucks, Inc., 484 F.3d 426, 429 (6th Cir. 2007) (citing Daubert,

  509 U.S. at 592-94). The Rule 702 inquiry is “a flexible one,” and the “focus . . . must be solely

  on principles and methodology, not on the conclusions they generate.” Daubert, 509 U.S. at

  594-95.

         “The trial judge must ensure that any and all scientific testimony or evidence admitted is

  not only relevant, but reliable.” Daubert, 509 U.S. at 589. Trial judges have the responsibility

  of acting as gatekeepers to exclude unreliable expert testimony. Daubert, 509 U.S. 579; In re

  Scrap Metal Antitrust Litig., 527 F.3d 517, 528 (6th Cir. 2008). The task for the district court in

  deciding whether an expert’s opinion is reliable is “to determine whether it rests upon a reliable

  foundation, as opposed to, say, unsupported speculation.” Id. at 529-30.

  I.      Russell J. Kendzior is not qualified to issue the opinions contained in his report or to
  testify regarding the conclusions he purports to have reached in this case.

         Mr. Kendzior’s qualifications are insufficient to support his opinions and conclusions.

  See Exhibit A to Original Report. He is a mathematician, not an engineer or architect, and he is

  not an expert who possesses the knowledge, skill, experience, training or education or the

  scientific, technical or other specialized knowledge necessary to conclude that any act or

  omission of the Malinaks caused the fall or alleged damages sustained by Plaintiffs. Id. Mr.

  Kendzior maintains a bachelor’s degree in mathematics from Bradley University with no further




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  scientific or engineering qualifications. Id. He has no post-graduate degree and is not a licensed

  engineer nor a licensed architect. See Kendzior Depo., 6. Mr. Kendzior does not have any

  training in terry cloth bath towels or their use as bath mats. Kendzior Depo., 6-11. The NFSI, on

  whose standards and testing methods Mr. Kendzior almost exclusively relies, was founded by

  Mr. Kendzior, and he still serves as the Chairman of its Board of Directors. See Exhibit A to the

  Original Report; Kendzior Depo., 19. Testifying in hundreds of cases regarding slip and falls

  alone does not produce an expert. See Kendzior Depo., 29-30. None of Russell Kendzior’s

  credentials are related to a scientific background that could relate to the facts of this case or assist

  the trier of fact in determining the issues in this case. Id.

  II.     The opinions and conclusions of Mr. Kendzior lack sufficient factual basis or
  scientific reliability to be admissible under the Federal Rules of Evidence or Daubert.

          The Court must exclude unreliable testimony, and the admission of expert testimony is

  governed by Rule 702 and Daubert. The opinions expressed in Mr. Kendzior’s reports do not

  satisfy the standards for expert testimony established by Daubert and Rule 702. “Nothing in

  either Daubert or the Federal Rules of Evidence requires a district court to admit opinion

  evidence that is connected to existing data only by the ipse dixit of the expert.” Gen. Elec. Co. v.

  Joiner, 522 U.S. 136, 137, 118 S. Ct. 512, 515, 139 L. Ed. 2d 508 (1997). Mr. Kendzior asserts

  many opinions regarding safety requirements and standards of care without reference to any

  scientific evidence or applicable standard, determining that the bath mat was unsafe on the

  flooring basically because he said so.

          Mr. Kendzior’s opinions that the floor is “slippery,” that the bath mat was inappropriate

  for the type of flooring in the bathroom, or that the mat slipped because of the type of flooring

  are unreliable and irrelevant because Mr. Kendzior has not seen, examined, inspected, or tested

  the flooring. He has never been to the condominium where Plaintiff Phyllis Barnes fell in



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  Gatlinburg, Tennessee.     See Kendzior Depo., 48.         He never even sent anyone to the

  condominium on his behalf to perform any testing or examine the scene. See Kendzior Depo.,

  48. At the time that Mr. Kendzior issued his first report, the report relied upon by the Plaintiffs

  in responding to the Defendants’ Motions for Summary Judgment, he did not even have an

  exemplar bathmat in his possession but relied on photographs and assumptions for his opinions.

  See Kendzior Depo., 156-157.

         Mr. Kendzior had insufficient facts to reach the conclusions he asserts. Mr. Kendzior’s

  Original Report states that the Defendants failed to provide a suitable bathmat for the type of

  flooring that was in the condominium, but Mr. Kendzior had never seen the flooring in the

  condominium or tested the bathmat in question against that flooring. See Original Report, p. 2;

  Kendzior Depo., 48, 58, 156-57. Mr. Kendzior relied on photographs and Plaintiff Phyllis

  Barnes’ testimony to determine the flooring type. See Kendzior Depo., 58-59. Mr. Kendzior

  never spoke to the Plaintiffs about any of the issues in this case nor has he spoken with or

  corresponded with any of the Defendants in this case. See Kendzior Depo., 47. He reviewed the

  Plaintiffs’ depositions but no testimony from the Defendants or their experts. He did not review

  any of the Defendants’ Answers, either party’s Initial Disclosures, or the Plaintiffs’ discovery

  responses. See Original Report, p. 3; Supplemental Report, p. 1.

          In both reports, Mr. Kendzior made broad conclusions about the Malinaks breaching

  certain standards of care they owed Plaintiffs, citing ANSI, ASTM, and NFSI standards to

  establish a standard of care However, when asked what codes, laws, standards, or ordinances, if

  any, supported his contention that the Defendants breached the standard of care, Mr. Kendzior

  conceded that the standards and codes he cited were all voluntary and not mandated by any law




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  in Gatlinburg, Sevier County, or the State of Tennessee. Kendzior Depo., 52-53, 72, 80, 95, 101,

  126.

         ASTM standard F-1637-10 cited by Mr. Kendzior states that it is intended to “provide

  reasonably safe walking surfaces for pedestrians wearing ordinary footwear.” See Kendzior

  Depo., 82. Somehow, Mr. Kendzior believes that this standard is applicable in a bathroom and

  to a Plaintiff who is not wearing any footwear. See Kendzior Depo., 83. He testified, “Well, this

  is a towel that’s used in the bathroom where people may come into the bathroom after they’re

  showered and step on it with a shoe or footwear. It’s not specific. . . . So the product itself, the

  towel, has to sustain a level of safety with shoes and, in the case of Ms. Barnes, without shoes.”

  See Kendzior Depo., 83. No reasonable jury could conclude that a standard that specifically

  states it applies to pedestrians wearing normal footwear would apply in a bathroom to a guest

  wearing no shoes.

         In another stretch of application, Mr. Kendzior cites ANSI standard A1264.2. This

  standard states that it applies “primarily to the protection of employees in workplace situations.

  It does not apply to construction, residential occupancies, floating roof tanks or marine dock

  facilities.” See Kendzior Depo., 161. Again, Mr. Kendzior somehow believes this standard is

  applicable in a short term rental’s bathroom, stating “some housekeeper, a worker is going to be

  coming into this bathroom. . . . It’s a work area for them. They’re cleaning it.” The Plaintiffs

  were not employees of the Defendants. No reasonable jury could determine that this standard

  was applicable under the facts of this case.

         Mr. Kendzior has issued certain opinions in his Supplemental Report regarding the lack

  of grab bars in the bathtub in question. The lack of grab bars is not an issue in this case because

  it was not addressed in the Complaint or Amended Complaint and because the Plaintiffs have




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  never asserted that the fall was because of the lack of a grab bar. If Mr. Kendzior’s testimony is

  not excluded in total, a Motion in Limine will follow relevant to this testimony. Nonetheless,

  Mr. Kendzior opines that a the Malinaks should have provided a grab bar at the front critical

  support service wall of the bathtub/shower enclosure as required by the ASTM standard F-446-

  99 and the Americans with Disabilities Act (“ADA”). See Kendzior Depo., 94-95. Again, Mr.

  Kendzior conceded that the ASTM standard was a completely voluntary standard that was not

  legally applicable to the condominium in question. See Kendzior Depo., 95. He also conceded

  that Plaintiff Phyllis Barnes was not protected by the ADA because she was not disabled and that

  that ADA did not apply to her. See Kendzior Depo., 95-96.

          Mr. Kendzior left pivotal facts unconfirmed and attempted to apply standards that are

  simply not relevant to the facts of this case. He made broad conclusions that the Malinaks

  breached the standard of care owed to the Plaintiffs under a standard that simply does not exist.

  His opinions are not relevant or reliable.

  III.    The reasoning and methodology underlying Mr. Kendzior’s conclusions are not
  scientifically valid and not based in science.

          In determining “whether the reasoning or methodology underlying the testimony is

  scientifically valid,” the Court should consider the factors discussed in Daubert, 509 U.S. at 593-

  94. Mr. Kendzior’s opinions are not based in any science but instead depend on the trier of fact

  believing his opinions are true because he said so. He attempts to support his opinions by

  performing a test governed by a standard that was written by him, are voluntary, and are not

  applicable to the facts of this case.




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  A.     Mr. Kendzior’s techniques or theories have not been tested and have not been
  objectively challenged.

          The NFSI 101-C standard used to test the bath mat in this case was a standard that was

  created by and for the NFSI, approved and codified by the NFSI Board of Directors, and

  published as an NFSI standard, which is voluntary. See Kendzior Depo., 126. When asked if

  NFSI 101-C, the testing procedure, was ever subjected to peer review, Mr. Kendzior testified that

  the NFSI developed private standards that were voluntary for an industry to either adopt or not.

  See Kendzior Depo., 125. In fact, Mr. Kendzior founded the NFSI, serves as chairman of its

  board of directors, and actually wrote the standard he claims to have used to test the bath mat.

  See Kendzior Depo., 74-75. NFSI standard, section 1.3 actually states that “No express or

  implied representation or warranty is made regarding accuracy or significance of any test results

  in terms of slip resistance.” See Kendzior Depo., 75. Moreover, none of Mr. Kendzior’s

  publications have been peer-reviewed. See Kendzior Depo., 33.

          B.   The rate of error, calculated only by Russell Kendzior, and the standard
  operation of testing, known and supported only by Mr. Kendzior, does not indicate
  reliability.

         Mr. Kendzior did one test using an unreliable machine to put a figure on the transitional

  coefficient of friction of the bath mat. Mr. Kendzior used a Brungraber Mark II test device,

  which is an articulated strut tribometer that can change the angle at which it impacts a floor, to

  measure the coefficient of friction of the bath mat. See Kendzior Depo., 89. The tribometer

  itself is a floor tester, but Mr. Kendzior used it as a floor mat backing sensor device. See

  Kendzior Depo., 129-130. The device has a five-pound weight that comes down at a designated

  angle and transfers weight throughout a 3” x 3” metal plate. See Kendzior depo., 90. Mr.

  Kendzior taped a 3” x 3” section cut from the exemplar bath mat to this device to test it. See id.




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          The tribometer has a tile plate to test the coefficient of friction, and even Mr. Kendzior

  agrees that the floors in the condominium at question were not tile but were vinyl or linoleum.

  See Kendzior Depo., 91. Mr. Kendzior explained that he used “a representative average type of

  floor material” for the test. See Kendzior Depo., 91-92. He did not know what the coefficient

  friction of the tile was in this particular bathroom but “assumed” it would be comparable to an

  average surface. See Kendzior Depo., 92. Mr. Kendzior agreed that the floor surface would

  have some impact on how slip resistant the bathmat was. See Kendzior Depo., 114.

          Mr. Kendzior testified that the bathmat tested at 0.14, which means that the towel moved

  at a steep angle such as walking across it. Kendzior Depo., 90. However, Mr. Kendzior does not

  know the angle that Plaintiff Phyllis Barnes stepped out of the tub onto the towel. See Kendzior

  Depo., 91. Moreover, Mr. Kendzior explained “you can go out and use a Brungraber test device

  on a floor and come up with a number. And when asked, well, what does the number mean, the

  answer is we don’t know because there is no standard, no method, nothing. It’s just a pardon the

  phrase -- - a gadget.” See Kendzior Depo., 99-100. Somehow, Mr. Kendzior still believes that

  the Brungraber device, when used to measure floor mat backings, had credibility because there is

  a published and reviewed standard specifying how to use the device and to find output values but

  does not refer to the published standard in his report or deposition. See Kendzior Depo., 100.

  This test and the unknown meaning of its values will surely confuse the issues and mislead the

  jury.

          Mr. Kendzior did not know the date that the Brungraber Mark II device he used to test the

  towel in this matter was last calibrated by the manufacturer but knew it has been several years.

  See Kendzior Depo., 99. Mr. Kendzior testified that there are approximately 70 different ways to

  measure surface friction and that there would be different outputs from the different devices. See




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  Kendzior Depo., 99. He testified that most of the devices have no real test method to support

  their use. See Kendzior Depo., 99. Mr. Kendzior testified that the tribometer he used has a 5

  percent error rate the way he used it. See Kendzior Depo., 134. Mr. Kendzior knew the error

  rate of the machine only because he calculated it himself based on the fact that some factors are

  not exactly perfect. See Kendzior Depo., 134-35. Mr. Kendzior testified that most tribometers

  have deviations greater than 5 percent. See Kendzior Depo., 136.

         The Brungraber Mark II devices are now owned, sold, and distributed by Slip-Test

  Walkway Tribometers.        See Kendzior Depo., 132.        Relevant here, the “Frequently Asked

  Question” section of the Slip-Test website provides the following:

         The NFSI floormat testing standard 101-C, referenced in the NFSI floormat
         "high-traction" certification process in NFSI B101.6, specifies the use of the Mark
         II or Mark III tribometer. What is the relationship between Slip-Test and NFSI in
         terms of this NFSI standard?

         The Mark II and Mark III (and Mark IIB / Mark IIIB) tribometer designs require a
         fairly stiff testfoot material, above approximately Shore 35A durometer. The
         tribometer will not work correctly with softer rubber substrates and foam
         substrates below Shore 35A that are used on floormats. It would be necessary to
         basically disable the normal functionality of the Mark II / III / IIB / IIIB when
         testing such softer materials - measurements will not be reliable. Slip-Test has
         had no relationship with NFSI and cannot comment on the methodology or
         reliability of their floormat certification process.

  See “Frequently Asked Questions.”            Slip- Test Walkway Tribometers, http://www.slip-

  test.com/refs_faq.html, a print copy of which is attached hereto as Exhibit D. Mr. Kendzior

  would have had to “basically disable the normal functionality” of the device he used in the

  relevant test to obtain the result he relies upon, which further proves the unreliability of the test.

         The number of assumptions made to perform the test, the fact the machine was not used

  for its intended purpose, the lack of any recent calibration, and the fact that the only known rate




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  of error was calculated by the expert trying to qualify the test all indicate that any testimony

  regarding this test is inherently unreliable.

                                            CONCLUSION

          The testimony of Russell J. Kendzior will not assist the trier of fact to understand or to

  determine a fact in issue as the methodology underlying the testimony is not scientifically valid.

  Additionally, the probative value of Russell Kendzior’s testimony is substantially outweighed by

  the danger of unfair prejudice, confusion of the issues, and misleading the jury, and the Court in

  its gatekeeper function should keep his testimony from the jury. Fed. R. Evid. 403.


          WHEREFORE, Defendants Greg Malinak and Debbie Malinak respectfully request that

  this Court exclude the testimony of Russell J. Kendzior as an expert at trial.


          Respectfully submitted this the 14th day of June, 2017.



                                                  /s Mabern E. Wall
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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing DEFENDANTS GREG
  MALINAK AND DEBBIE MALINAK’S MOTION TO EXCLUDE THE TESTIMONY
  OF RUSSELL KENDZIOR AS AN EXPERT AT TRIAL was filed electronically. Notice of
  this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
  on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
  access this filing through the Court’s electronic filing system.

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         This 14th day of June, 2017.


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